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                                                                              (SPACE BELOW FOR FILING STAMP ONLY)

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 4
      ATTORNEYS FOR Defendant, JOSEPH MAR
 5

 6
                                   UNITED STATES DISTRICT COUNT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8

 9    UNITED STATES OF AMERICA,                        Case No: 1:14-CR-00226–DAD-BAM
10                   Plaintiffs,
                                                               WAIVER OF APPEARANCE
11
             v.                                                        AND
12                                                                    ORDER
      JOSEPH MAR,
13
                     Defendants.
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15

16    TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY

17           OFFICE and/or ITS REPRESENTATIVES:

18           Defendant, JOSEPH MAR, by and through his attorney MARK W. COLEMAN, of

19    NUTTALL & COLEMAN, hereby applies to this court for an Order waiving his appearance at

20    the Trial Confirmation currently set for March 5, 2018 at 10:00 a.m., before Magistrate Judge

21    Dale A. Drozd.

22           The reason for this request is that Mr. Mar lives in Ceres, California, and does not have

23    sufficient available paid time off with his employer, and in order to come to court he would

24    have to take a full day off work.

25           Counsel has been informed by Judge Drozd’s clerk that the Trial Date in this case will

26    be continued. Counsel has conferred with Assistant United States Attorney Kathleen Servatius

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 1    to choose a new trial date. Client is aware that the Trial will be continued and has been

 2    informed of the possible Trial dates.

 3           Mr. Mar has been in continued contact with his attorney, and gives his attorney full

 4    power to act on his behalf. The matter of the Trial Confirmation has been discussed and Mr.

 5    Mar is satisfied that all relative matters have been adequately discussed.

 6           It is hereby requested that Joseph Mar’s appearance at the hearing on March 5, 2018, at

 7    10:00 a.m. be excused.

 8    DATED: February 26, 2018.               Respectfully submitted,
 9                                            NUTTALL COLEMAN & DRANDELL
10                                            /s/ Mark W. Coleman
11                                            MARK W. COLEMAN
                                              Attorney for Defendant,
12                                            JOSEPH MAR

13

14                                                  ORDER

15           GOOD CAUSE APPEARING,

16           IT IS HEREBY ORDERED that Defendant, Joseph Mar, is hereby excused from

17    appearing at the Trial Confirmation currently scheduled for March 5, 2018, at 10:00 a.m.

18    IT IS SO ORDERED.
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         Dated:     March 1, 2018
20                                                          UNITED STATES DISTRICT JUDGE

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